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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 1:23-mj-03829-LOUIS


  UNITED STATES OF AMERICA

  v.

  JUAN ANDRES DONATO BAUTISTA,

        Defendant.
  _____________________________________/

                                     UNSEALING ORDER

         THIS CAUSE is before the Court on the Herring Networks, Inc.’s Motion to Intervene for

  the Limited Purpose of Unsealing the Court’s Docket and Related Records. (ECF No. 7). The

  Court ordered the Government to respond and show cause why the case should not be unsealed.

  In response, the Government moved for an Order unsealing the case. Accordingly, it is

         ORDERED AND ADJUDGED that the Government’s Motion to Unseal is GRANTED.

  The Clerk is directed to UNSEAL this case and all pleadings (ECF Nos. 1–9) which are currently

  filed under seal.

         The Motion to Intervene (ECF No. 7) is DENIED, as moot.

         DONE AND ORDERED in Chambers at Miami, Florida this 28th day of December, 2023.




                                                    LAUREN F. LOUIS
                                                    UNITED STATES MAGISTRATE JUDGE
